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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                Fort Lauderdale Division
                                  www.flsb.uscourts.gov

In re:
                                                             Case No. 23-14169-SMG
Retailing Enterprises, LLC,                                  Chapter 11

                Debtor.
______________________________/

                     CHAPTER 11 CASE MANAGEMENT SUMMARY

      In compliance with Local Rule 2081-1(B), the Debtor-in-Possession, Retailing
Enterprises, LLC, files this Chapter 11 Case Management Summary and states:

       The following data represents approximations for background information only and
the information may represent the Debtor's best estimate in response to some of the ensuing
questions.

         1.   Date of Order for Relief under Chapter 11: May 30, 2023

         2.   Names, case numbers and dates of filing of related debtor: N/A

         3.   Description of debtor’s business: The Debtor is an official reseller of the
              Invicta watches both in domestic retail locations as well as online.

         4.   Locations of debtor’s operations and whether the business premises are leased
              or owned: The Debtor leases its main business premises located at 405
              SW 148th Ave, Suite 1, Davie, FL 33325. The Debtor also leases a total of
              24 brick and mortar retail locations which are primarily in Florida, but
              also in Georgia, New York, Texas, New Jersey, Maryland, Delaware, and
              Nevada. Details of each leased retail location are attached to Debtor’s
              Expedited Motion for Extension of Time for Performance of Obligations
              Arising Under Unexpired Non-Residential Real Property Leases as
              Exhibit A. See ECF 22.

         5.   Reasons for filing Chapter 11: The Debtor is filing chapter 11 to stabilize
              its operations, reorganize its debts, and attempt to resolve ongoing
              disputes with several of its landlords.

         6.   List of officers and directors, if applicable, and their salaries and benefits at the
              time of filing and during the 1 year prior to filing:

              Mauricio Krantzberg, Managing Member/ President – annual salary of
              approximately $287,000 (biweekly gross pay of $11,538.46).
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7.    Debtor's fiscal or calendar year to date gross income and the debtor's gross
      income for the calendar or fiscal year prior to the filing of this petition:

       GROSS INCOME - YEAR TO DATE:               GROSS INCOME PRIOR YEAR:
           1/01/2023 to Filing date                  1/01/2022 to 12/31/2022
                $27,881,790.00                           $116,578,000.00

8.    Amounts owed to various creditors:

       a. Obligations owed to priority creditors including priority tax obligations:

       IRS: $0.00
       State Taxes: $634,838.56
       Other Taxes: $265,570.98

       b. With respect to creditors holding secured claims, the name of and amounts
          owed to such creditors and a description and estimated value of all
          collateral of the debtor securing their claims, and

          Creditor             Amt Claim        Collateral             Value
          City National        $7,762,461.82 All assets of the         TBD*
          Bank of Florida                    Debtor (1st
                                             position)
          City National        $9,796,771.00 All assets of the         TBD*
          Bank of Florida                    Debtor (2nd
                                             position)
          Ally Financial       $24,137.01       2018 Dodge Ram         $43,188.00
                                                Promaster 3500
                                                                       (estimated)

       c. Amount of unsecured claims: $49,211,467.40 (estimated)

9.    General description and approximate value of the debtor’s assets*: Cash and
      bank accounts ($14,015.12); Deposits and Prepayments (TBD);
      Investments ($232,960.00); accounts receivable ($238,152.00); office
      furniture and fixtures (TBD); used computer equipment for all locations
      (TBD); vehicle ($43,188.00) and inventory per liquidation value.
      ($6,500,000).

      *The Debtor is still reviewing and examining fair market values of certain
      assets, with such valuations to be listed on the Debtor’s forthcoming schedules.

10.   List of all insurance policies, the property covered under the policy, the name of
      the insurer, the policy number, amount of coverage, whether the premium is
      current, the date the next premium is due and date the policy expires:

      Policy Type: Commercial Auto Insurance

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Insurer: Infinity Commercial Auto
Policy number: 509-80001-9622-001
Policy term: May 7, 2023 to May 7, 2024
Premium: $12,067.00
Pay status: Current

Policy Type: Commercial Property Insurance (Florida)
Insurer: Arch Specialty Insurance Co.
Policy number: ESP100019004
Policy term: March 1, 2023 to March 1, 2024
Premium: $204,725.00
Pay status: Current

Policy Type: Commercial General Liability Insurance
Insurer: Hartford Fire Insurance Co.
Policy number: 22 UEN BH8446 K3
Policy term: March 1, 2023 to March 1, 2024
Premium: $86,648.24
Pay status: Current

Policy Type: Excess/Umbrella Liability
Insurer: Hartford Casualty Insurance Co.
Policy number: 22 RHU BH7570 K3
Policy term: March 1, 2023 to March 1, 2024
Premium: $28,030.00
Pay status: Current

Policy Type: Cybersecurity/Cyber liability policy
Insurer: Coalition Insurance Company
Policy number: C-4LRC-008340-CYBER-2023-01
Policy term: April 11, 2023 to April 11, 2024
Premium: $42,233.00
Pay status: Current

Policy Type: Crime Insurance
Insurer: Travelers Casualty & Surety Co.
Policy number: 105902490
Policy term: March 4, 2023 to March 4, 2024
Premium: $17,274.00
Pay status: Current

Policy Type: Worker’s compensation/EPLI
Insurer: ADP
Policy number: Payroll Addendum
Policy term: Ongoing
Premium: Percentage of annual gross payroll, varies by state*
Pay status: Current



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       *Service fee rate ranges from 4.89% to 7.23% of annual gross payroll;
       average rate of 5.68%

11.    Number of employees and amounts of wages owed as of petition date:

       164 employees; $278,810.83

12.    Status of Debtor’s payroll and sales tax obligations, if applicable. This does not
       eliminate the obligation of chapter 11 debtors (other than individuals not
       engaged in business) to provide the more detailed payroll tax information
       required by Local Rule 2081-1(A):

       Estimated payroll tax for May 28, 29 and 30, 2023 in the amount of
       $5,114.67.

       Estimated sales tax for May 1 through May 31, 2023 in the amount of
       $450,000.

13.    Anticipated emergency relief to be requested within 14 days from the petition
       date:

          -   Motion to Use Cash Collateral of City National Bank of Florida
          -   Motion for Entry of Interim and Final Orders (I) Authorizing
              Maintenance of Certain Existing Bank Accounts and Cash
              Management System, (II) Authorizing Continued Use of Certain
              Credit Cards, (III) Waiving Certain U.S. Trustee Requirements
              in Connection Therewith, and (IV) Granting Related Relief
          -   Motion for Interim and Final Orders Authorizing Debtor to
              Honor and/or Pay Prepetition Wages and Salaries
          -   Motion for an Order Authorizing Payment of Prepetition Claims
              of Critical Vendors
          -   Motion for Order Approving Financing of Inventory Supplied to
              Debtor Postpetition


      Dated: June 2, 2023
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